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                        9
                              Attorneys for Tecumseh–Infinity Medical
                      10      Receivable Fund, LP

                      11                        IN THE UNITED STATES BANKRUPTCY COURT
                                                      FOR THE DISTRICT OF NEVADA
                      12
                              In re:                                           Case No. 21-14486-abl
                      13
                              INFINITY CAPITAL MANAGEMENT, INC.,               Chapter 7
                      14
                                            Debtor.
                      15
                              HASELECT-MEDICAL RECEIVABLES                     Adversary Case No. 21-01167-abl
                      16      LITIGATION FINANCE FUND
                              INTERNATIONAL SP,,
                      17
                                            Plaintiff,
                      18
                              v.
                      19
                              TECUMSEH-INFINITY MEDICAL
                      20      RECEIVABLES FUND, LP,,
                      21                    Defendant/Counterclaim
                                            Plaintiff,
                      22
                                                                               Hearing Date:        May 12, 2022
                              v.
                      23                                                       Hearing Time:        9:30 a.m.
                              HASELECT-MEDICAL RECEIVABLES
                      24
                              LITIGATION FINANCE FUND
                      25      INTERNATIONAL SP, and ROBERT E.
                              ATKINSON, CHAPTER 7 TRUSTEE,
                      26
                                            Counterclaim Defendants.
                      27

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                        1      ROBERT E ATKINSON, CHAPTER 7
                               TRUSTEE,
                        2
                                             Counter Plaintiff,
                        3
                               v.
                        4
                               TECUMSEH-INFINITY MEDICAL
                        5      RECEIVABLES FUND, LP,
                        6                    Counter Defendant.
                        7
                                         STIPULATION BETWEEN HASELECT-MEDICAL RECEIVABLES
                        8             LITIGATION FINANCE FUND INTERNATIONAL SP AND TECUMSEH-
                                               INFINITY MEDICAL RECEIVABLE FUND, LP TO:
                        9           (I) CONTINUE HEARING DATES ON MOTION FOR PARTIAL SUMMARY
                      10              JUDGMENT AS TO CERTAIN DISPUTED RECEIVABLES [DE #53] AND
                                     MOTION TO DISMISS ALL CLAIMS FOR LACK OF SUBJECT MATTER
                      11                JURISDICTION [DE #59]; AND (II) EXTEND RELATED DEADLINES

                      12             This stipulation (“Stipulation”) is made by and between Defendant Tecumseh–Infinity
                      13      Medical Receivables Fund LP (“Tecumseh”), by and through its counsel, Garman Turner Gordon,
                      14      and Plaintiff HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect,”
                      15      and together with Tecumseh, “Parties”), by and through its counsel, Shea Larsen, with regard to:
                      16      (1) Plaintiff HASelect-Medical Receivables Litigation Finance Fund International SP’s Motion for
                      17      Partial Summary Judgment as to Certain Disputed Receivables [ECF No. 53] (“Motion for Partial
                      18      Summary Judgment”); and (ii) Tecumseh-Infinity Medical Receivable Fund, LP’s Motion to
                      19      Dismiss all Claims for Lack of Subject Matter Jurisdiction [ECF No. 59] (“Motion to Dismiss”).
                      20                                               RECITALS
                      21             1.     HASelect’s Motion for Partial Summary Judgment and Tecumseh’s Motion to
                      22      Dismiss were both filed on March 22, 2022.
                      23             2.     Both motions are scheduled for hearing on May 12, 2022 at 9:30 a.m. Tecumseh’s
                      24      counsel requested that the hearing be rescheduled because a scheduling conflict arose for
                      25      Tecumseh’s lead counsel, Michael Napoli, on May 12, 2022.
                      26             3.     Pursuant to LR 7056, Tecumseh’s opposition to the Motion for Partial Summary
                      27      Judgment is currently due on April 12, 2022 and HASelect’s reply is due on April 26, 2022.
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                        1                       4.     As the Motion for Partial Summary Judgment involves significant issues and

                        2     substantial evidence, Tecumseh’s counsel requested a brief extension of the opposition deadline.

                        3                                                      STIPULATION

                        4                       NOW, THEREFORE, the Parties stipulate and agree as follows, subject only to entry of an

                        5     order approving this Stipulation:

                        6                       1.     The hearing on HASelect’s Partial Motion for Summary Judgment (ECF No. 53)

                        7     shall be continued from May 12, 2022, at 9:30 a.m., to May 26, 2022, at 9:30 a.m.

                        8                       2.     The hearing on Tecumseh’s Motion to Dismiss (ECF No. 59) shall be continued

                        9     from May 12, 2022, at 9:30 a.m., to May 26, 2022, at 9:30 a.m.

                      10                        3.     The deadline for Tecumseh to file and serve its memorandum of points and

                      11      authorities in opposition to the Partial Summary Judgment Motion shall be extended from April

                      12      12, 2022 to April 28, 2022 and the deadline for HASelect to file and serve its reply memorandum

                      13      of points and authorities shall be extended from April 26, 2022 to May 12, 2022.

                      14                        4.     Pursuant to LR 9014(d), the opposition and reply deadlines for the Motion to

                      15      Dismiss shall be May 12, 2022 and May 19, 2022, respectively.

                      16                        IT IS SO STIPULATED.

                      17                        DATED this 12th day of April, 2022.

                      18        GARMAN TURNER GORDON LLP                                   SHEA LARSEN
                      19        By: /s/ Gabrielle A. Hamm                                  By: /s/ Bart K. Larsen
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